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                                                 UNITED STATES DISTRICT COURT
           10                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
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                   IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
           13
                   PRIVACY USER PROFILE LITIGATION,
           14                                                           DECLARATION OF ALEXANDER H.
                                                                        SOUTHWELL IN SUPPORT OF
           15      This document relates to:                            FACEBOOK’S STATEMENT IN
                                                                        SUPPORT OF PLAINTIFFS’
           16      ALL ACTIONS                                          ADMINISTRATIVE MOTION TO
                                                                        CONSIDER WHETHER ANOTHER
           17
                                                                        PARTY’S MATERIAL SHOULD BE
           18                                                           SEALED

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Gibson, Dunn &       SOUTHWELL DECLARATION ISO FACEBOOK’S STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO
Crutcher LLP
                                      CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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               1          I, Alexander H. Southwell, hereby declare as follows:
               2          1.      I am an attorney licensed to practice law in the State of New York. I am a partner
               3   with the law firm of Gibson, Dunn & Crutcher LLP. I submit this declaration in support of
               4   Facebook’s Statement In Support Plaintiffs’ Administrative Motion To Consider Whether
               5   Another Party’s Material Should Be Sealed (Dkt. 873). I make this declaration on my own
               6   knowledge, and I would testify to the matters stated herein under oath if called upon to do so.
               7          2.      Attached as Exhibit A is a true and correct redacted copy of Plaintiffs’ Notice of
               8   Motion, Motion, and Memorandum in Support of Motion for Sanctions.
               9          3.      Attached as Exhibit B is a true and correct unreacted copy of Plaintiffs’ Notice of
           10      Motion, Motion, and Memorandum in Support of Motion for Sanctions.
           11             4.      Attached as Exhibit C is a true and correct redacted copy of Plaintiffs’ Exhibit 1.
           12             5.      Attached as Exhibit D is a true and correct unreacted copy of Plaintiffs’ Exhibit 1.
           13             6.      Attached as Exhibit E is a true and correct redacted copy of Plaintiffs’ Exhibit 16.
           14             7.      Attached as Exhibit F is a true and correct unreacted copy of Plaintiffs’ Exhibit 16.
           15             8.      Attached as Exhibit G is a true and correct redacted copy of Plaintiffs’ Exhibit 17.
           16             9.      Attached as Exhibit H is a true and correct unreacted copy of Plaintiffs’ Exhibit 17.
           17             10.     Attached as Exhibit I is a true and correct redacted copy of Plaintiffs’ Exhibit 18.
           18             11.     Attached as Exhibit J is a true and correct unreacted copy of Plaintiffs’ Exhibit 18.
           19             12.     Attached as Exhibit K is a true and correct redacted copy of Plaintiffs’ Exhibit 19.
           20             13.     Attached as Exhibit L is a true and correct unreacted copy of Plaintiffs’ Exhibit 19.
           21             14.     Attached as Exhibit M is a true and correct redacted copy of Plaintiffs’ Exhibit 23.
           22             15.     Attached as Exhibit N is a true and correct unreacted copy of Plaintiffs’ Exhibit 23.
           23             16.     Attached as Exhibit O is a true and correct redacted copy of Plaintiffs’ Exhibit 25.
           24             17.     Attached as Exhibit P is a true and correct unreacted copy of Plaintiffs’ Exhibit 25.
           25             18.     Attached as Exhibit Q is a true and correct redacted copy of Plaintiffs’ Exhibit 26.
           26             19.     Attached as Exhibit R is a true and correct unreacted copy of Plaintiffs’ Exhibit 26.
           27             20.     Attached as Exhibit S is a true and correct redacted copy of Plaintiffs’ Exhibit 27.
           28             21.     Attached as Exhibit T is a true and correct unreacted copy of Plaintiffs’ Exhibit 27.
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               1          22.     Attached as Exhibit U is a true and correct redacted copy of Plaintiffs’ Exhibit 31.
               2          23.     Attached as Exhibit V is a true and correct unreacted copy of Plaintiffs’ Exhibit 31.
               3          24.     Attached as Exhibit W is a true and correct redacted copy of Plaintiffs’ Exhibit 32.
               4          25.     Attached as Exhibit X is a true and correct unreacted copy of Plaintiffs’ Exhibit 32.
               5          26.     Attached as Exhibit Y is a true and correct redacted copy of Plaintiffs’ Exhibit 33.
               6          27.     Attached as Exhibit Z is a true and correct unreacted copy of Plaintiffs’ Exhibit 33.
               7          28.     Attached as Exhibit AA is a true and correct redacted copy of Plaintiffs’ Exhibit 34.
               8          29.     Attached as Exhibit AB is a true and correct unreacted copy of Plaintiffs’ Exhibit 34.
               9          30.     Attached as Exhibit AC is a true and correct redacted copy of Plaintiffs’ Exhibit 51.
           10             31.     Attached as Exhibit AD is a true and correct unreacted copy of Plaintiffs’ Exhibit 51.
           11             32.     Attached as Exhibit AE is a true and correct redacted copy of Plaintiffs’ Exhibit 55.
           12             33.     Attached as Exhibit AF is a true and correct unreacted copy of Plaintiffs’ Exhibit 55.
           13             34.     Attached as Exhibit AG is a true and correct redacted copy of Plaintiffs’ Exhibit 60.
           14             35.     Attached as Exhibit AH is a true and correct unreacted copy of Plaintiffs’ Exhibit 60.
           15             36.     Attached as Exhibit AI is a true and correct redacted copy of Plaintiffs’ Exhibit 61.
           16             37.     Attached as Exhibit AJ is a true and correct unreacted copy of Plaintiffs’ Exhibit 61.
           17             38.     Attached as Exhibit AK is a true and correct unreacted copy of Plaintiffs’ Exhibit 63.
           18      The previously filed version of this document is redacted and sealed entirely. See Dkt. 814 at 4359.
           19             39.     Attached as Exhibit AL is a true and correct redacted copy of Plaintiffs’ Exhibit 64.
           20             40.     Attached as Exhibit AM is a true and correct unreacted copy of Plaintiffs’
           21      Exhibit 64.
           22             41.     Attached as Exhibit AN is a true and correct unreacted copy of Plaintiffs’ Exhibit 65.
           23      The previously filed version of this document is redacted and sealed entirely. See Dkt. 814 at 4343.
           24             42.     Attached as Exhibit AO is a true and correct unreacted copy of Plaintiffs’ Exhibit 66.
           25      The previously filed version of this document is redacted and sealed entirely. See Dkt. 804-3 at 0476.
           26             43.     Attached as Exhibit AP is a true and correct unreacted copy of Plaintiffs’ Exhibit 67.
           27             44.     Attached as Exhibit AQ is a true and correct unreacted copy of Plaintiffs’ Exhibit 68.
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               1          45.     Attached as Exhibit AR is a true and correct redacted copy of Plaintiffs’ Corrected
               2   Notice of Motion, Motion, and Memorandum in Support of Motion for Sanctions.
               3          46.     Attached as Exhibit AS is a true and correct unreacted copy of Plaintiffs’ Corrected
               4   Notice of Motion, Motion, and Memorandum in Support of Motion for Sanctions.
               5          47.     Facebook initiated the Application Developer Investigation (“ADI” or the
               6   “Investigation”) because, in the wake of the reporting of data misuse by Cambridge Analytica in
               7   March 2018, Facebook anticipated that it would have to respond to known and expected legal
               8   challenges in connection with applications and developers that may have had access to large amounts
               9   of user data because they were active before Facebook placed additional, significant limitations on
           10      the amount and type of data developers could request from users through the Facebook Platform
           11      in 2014.
           12             48.     To this end, Facebook retained outside counsel (Gibson, Dunn & Crutcher LLP)
           13      experienced with cybersecurity and data privacy internal investigations to design and direct a new
           14      investigation (ADI) that could, among other things, gather the facts necessary for providing legal
           15      advice to Facebook about litigation, compliance, regulatory inquiries, and other legal risks facing the
           16      company resulting from potential data misuse and activities by third-party app developers operating
           17      on the prior version of Facebook’s platform.
           18             49.     I led the Gibson Dunn team engaged to develop and conduct the Investigation. I am a
           19      former federal prosecutor and have more than two decades of experience with large-scale, corporate
           20      investigations. The Gibson Dunn team worked with Facebook’s in-house attorneys and members of
           21      Facebook’s Partnerships, Data Policy, and DevOps teams on the ADI. I and my team at Gibson
           22      Dunn also led the recruitment and retention of technical experts and investigators for the ADI,
           23      including two leading forensic consulting firms with expertise in assisting with technology-focused
           24      internal investigations. These consulting experts operated as an extension of the Gibson Dunn team
           25      to support our provision of legal advice to Facebook, and the investigators worked under the direction
           26      of Gibson Dunn and Facebook Legal. The “ADI team,” as used herein, is comprised of Gibson Dunn
           27      lawyers and paralegals, our consulting experts, and Facebook in-house counsel and internal partners
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               1   including subject matter experts, all of whom operated at the direction of counsel. At its largest, the
               2   ADI team consisted of over 300 members.
               3          50.     Gibson Dunn and in-house counsel needed to partner with the outside expert
               4   consulting firms and Facebook personnel to effectively advise Facebook of legal risk. The ADI team
               5   worked at the direction of counsel, relied on counsel’s input and guidance, and played a necessary
               6   role in facilitating legal advice by counsel and implementing that advice by the company. The ADI
               7   was an iterative process through which ADI team members, including counsel and subject matter
               8   experts, were able to learn as the investigation progressed. As such, documents initially drafted by
               9   members of the ADI team were generally prepared by or at the direction of counsel, and counsel
           10      edited or otherwise helped shape their contents to ensure they were serving the legal purpose for
           11      which they were created.
           12             51.     The Investigation was highly complex and addressed millions of applications
           13      operating before changes were made to Facebook’s platform. There was no industry standard for
           14      how to conduct such an investigation. Rather, under Gibson Dunn’s and in-house counsel’s
           15      leadership, the ADI team devised and tailored the ADI’s methods, protocols, and strategies to address
           16      the specific risks posed by these legal challenges. These proprietary methods and techniques are
           17      valuable to Facebook.
           18             52.     The methods, techniques, and strategies employed during the Investigation are highly
           19      confidential. Indeed, Facebook has taken numerous substantial steps to maintain the confidentiality
           20      of details regarding the Investigation. For example, details about the Investigation are disclosed to
           21      Facebook employees only on a need-to-know basis. As a result, a limited number of Facebook
           22      employees, counsel, and third-party experts have accessed this highly sensitive information.
           23             53.     The proposed redactions cover information that would reveal proprietary and highly
           24      confidential aspects of the Investigation. Facebook continues to assert that the Investigation was also
           25      privileged, and Facebook has produced ADI-related materials under compulsion over its assertions of
           26      attorney-client privilege and work product protection. Public disclosure of portions of the very
           27      information Facebook seeks to protect would cause Facebook to suffer irreparable harm by publicly
           28      disclosing aspects of Facebook’s legal Investigation that Facebook has diligently worked to keep
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               1   confidential and compromising Facebook’s efforts to assert attorney-client privilege or work product
               2   protection over these materials on appeal or in other actions.
               3          54.     Facebook asks the Court to permanently seal the names of two consulting expert firms
               4   who assisted with the Investigation on a confidential basis, working at Gibson Dunn’s direction. See
               5   Pls.’ Ex. 1 at 32–33; Pls.’ Ex. 23 at 2; Pls.’ Ex. 27 at 1–2; Pls.’ Ex. 55 at 11. If these names were
               6   disclosed publicly, competitors would have access to confidential information regarding Facebook’s
               7   business relationships with third-party experts. Public disclosure could undermine Facebook’s and
               8   Gibson Dunn’s current and future relationships with third-party vendors and be used to cause
               9   Facebook competitive harm. The Court has previously found good cause to seal this information.
           10      See Dkts. 737, 764, 836, 837, 838, 839, 891.
           11             55.     Facebook also seeks to seal the identities of apps and developers that were
           12      investigated by ADI. See Pls.’ Mot. at 13; Pls.’ Ex. 1 at 33, 38. If this information were publicly
           13      disclosed, these non-party apps and developers could suffer reputational harm because members of
           14      the public might infer that they had engaged in wrongdoing, when some apps were suspended for
           15      non-cooperation with ADI. The Court has previously found good cause to seal this information. See
           16      Dkts. 519, 838.
           17                                            ADI Investigative Reports
           18             56.     Facebook asks the Court to seal two investigative reports generated by Facebook’s
           19      consulting experts during the Enhanced Examination phase of the Investigation, as well as excerpts of
           20      investigative reports quoted in Plaintiffs’ Motion. See Pls.’ Mot. at 13; Pls.’ Exs. 67, 68. In the
           21      Enhanced Examination phase, apps were selected for further review by counsel through proprietary
           22      risk-based approaches based on counsel’s assessment of where and how the greatest legal risk to the
           23      company might arise to provide legal advice to Facebook regarding potential risks and active and
           24      potential litigation. Once an app or developer had been identified for further review based on criteria
           25      that my team had devised, Gibson Dunn and in-house counsel directed our consulting experts to
           26      conduct intensive background and technical investigations, collect and compile specific evidence that
           27      counsel believed particularly salient to their legal analyses, and report their findings to counsel. Each
           28      report for a single developer could include extensive technical and other details and these reports
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               1   were specifically tailored by counsel, in substance and format, so that counsel could evaluate the
               2   potential for data misuse and associated legal risks. Reports varied tremendously based on counsel’s
               3   instructions and what counsel determined was needed to provide legal advice. Although the Court
               4   has ordered Facebook to produce investigative reports from ADI, Facebook continues to assert that
               5   these reports are attorney-client privileged and work product and has produced these reports under
               6   compulsion.
               7          57.     Enhanced Examination also included application of a proprietary model (called the
               8   Risk-Prioritization Formula) developed under the guidance and with the advice of counsel that
               9   assisted in assessing the risks related to access to data, and the associated legal risks to Facebook,
           10      based in part on the permissions granted to apps and the number of users that authorized specific
           11      permissions. The Risk-Prioritization Formula was used exclusively in the ADI to prioritize apps for
           12      review during the Enhanced Examination phase.
           13             58.     The investigative reports attached as Plaintiffs’ Exhibits 67 and 68 were created in the
           14      Enhanced Examination phase at the direction of counsel to assist counsel in the provision of legal
           15      advice and contain or reveal the mental impressions and advice of counsel. Facebook has produced
           16      the investigative reports under compulsion, over its privilege and work product objections. As noted
           17      above, Gibson Dunn worked directly with the rest of the ADI team to design ADI-specific
           18      investigation reports to contain information relevant to counsel’s evaluation of the potential for data
           19      misuse and associated legal risk.
           20             59.     To facilitate our attorney review at scale, we instructed the ADI team regarding the
           21      criteria and information that were important to us in rendering our opinion on legal risk, and
           22      requested that they, based on these attorney-selected criteria, include preliminary recommendations in
           23      their reports to facilitate Gibson Dunn’s legal advice about the risk of data misuse. Therefore, the
           24      topics of investigation in each report—even including analyses of publicly-available information—
           25      reveal the criteria and information that were important to the ADI team’s innovative and proprietary
           26      analyses.
           27             60.     Although counsel may not have drafted each of these documents directly, the
           28      documents created as part of the Enhanced Examination phase were created at the direction of
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               1   counsel, reflect attorney advice and mental impressions regarding the evidence counsel deemed
               2   important in rendering legal advice, and were directly used by counsel to provide legal advice to
               3   Facebook.
               4          61.     Each investigative report is focused on a specific developer or set of apps investigated
               5   by ADI and is replete with sensitive business information about third parties. The investigative
               6   reports were intended to identify potential concerns about third-parties for counsel to investigate. In
               7   some cases, the concerns identified were disproven based on additional evidence gathered by the ADI
               8   team. Disclosure of any portion of these reports would reveal confidential and highly sensitive
               9   information about third parties and—in some cases—cause public disclosure of information that has
           10      not been subject to confirmation or verification. The reports should be sealed to protect the rights of
           11      non-parties.
           12             62.     Public disclosure of the investigative reports could also create security risks. The
           13      Investigation was designed to identify applications that may have misused data before Facebook
           14      implemented additional platform protections. Every portion of the investigative reports reveals what
           15      information counsel deemed relevant to assessing the potential for data misuse, as well as the tools
           16      and capabilities of consulting experts in investigating that information. Data misuse and other abuse
           17      practices by app developers can be adversarial in nature, meaning that bad actors commonly attempt
           18      to evade technological, investigative and enforcement mechanisms designed to detect and disrupt
           19      abuse. As a result, Facebook has strictly maintained the confidentiality of ADI details to ensure bad
           20      actors cannot use that information in attempts to evade the additional restrictions on data access that
           21      Facebook has enacted. If publicly disclosed, this sensitive information could make Facebook’s
           22      enforcement efforts less effective, which would cause harm to Facebook and its users.
           23             63.     The investigative reports also contain commercially sensitive information regarding
           24      Facebook’s technical infrastructure and operations regarding how Facebook stores data. In
           25      investigating the potential for data misuse, reports include details about apps accessing Facebook
           26      through API calls, consistent with users’ privacy selections. Facebook’s methods for protecting user
           27      privacy and storing user data are valuable. If information about Facebook’s API call log system were
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               1   publicly disclosed, competitors could potentially use it to improve their own competing methods for
               2   managing high volumes of data from interactions with large numbers of third parties.
               3          64.     The investigative reports also are replete with confidential information about the
               4   Investigation’s novel methods, processes, and strategies designed and developed by counsel in
               5   anticipation of litigation. Public disclosure of any portion of the reports would reveal highly sensitive
               6   information, such as (i) the identities of the apps and developers that were investigated during the
               7   Investigation, (ii) the information that counsel directed its consulting experts to investigate for each
               8   app or developer, (iii) the capabilities of the consulting experts in conducting their investigation, or
               9   (iv) the Investigation’s risk assessment for each app. Public disclosure of the Investigation’s targets,
           10      strategies, methods, and capabilities would allow Facebook’s competitors to copy these proprietary,
           11      innovative methods and techniques that Facebook and its counsel developed, which would cause
           12      Facebook competitive harm.
           13             65.     For these reasons, Facebook’s proposed redactions are “Confidential” under the
           14      Protective Order and protected from public disclosure by Federal Rule of Civil Procedure 26(c).
           15                                                  *       *       *
           16             I declare under penalty of perjury under the laws of the United States of America that the
           17      foregoing is true and correct. Executed on April 1, 2022 in New York, New York.
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           20                                                                            Alexander H. Southwell
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